        Case 1:21-cr-00623-CRC Document 113 Filed 03/07/23 Page 1 of 1




                         UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA

       v.                                               Case No. 21-cr-00623 CRC

MICHAEL ECKERMAN


SUPPLEMENT TO DEFENDANT’S MEMORANDUM IN AID OF SENTENCING

       Comes now the defendant, by and through his attorney, Richard S. Stern, to

provide the Court with three letters in response the government’s filing yesterday of Mr.

Eckerman’s wife. The letters are from Tamra Jackson, Thomas Carter and Dana Hogan

and are collectively attached as Exhibit 1.

                                                  Respectfully submitted,


                                                  /s/ Richard S. Stern
                                                  _________________________
                                                  RICHARD S. STERN
                                                  D.C. Bar No. 205377
                                                  932 Hungerford Drive #37A
                                                  Rockville, MD 20850
                                                  301-340-8000
                                                  Email: rssjrg@rcn.com
                                                  Attorney for Mr. Eckerman


                                   CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that I have electronically served all counsel of record on
March 7, 2023.


                                                  /s/ Richard S. Stern
                                                  _________________________
                                                  RICHARD S. STERN

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